Case 2:05-cv-00027-WGH-RLY       Document 75    Filed 01/18/07   Page 1 of 4 PageID #:
                                       651


                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF INDIANA
                            TERRE HAUTE DIVISION


ANTHONY CLAY,                               )
                                            )
                         Plaintiff,         )
                                            )
            v.                              )      2:05-cv-27-WGH-RLY
                                            )
SCHWAN’S HOME SERVICE, INC.,                )
                                            )
                         Defendant.         )



                 ORDER DENYING DEFENDANT’S MOTION FOR
                   RECONSIDERATION OR CERTIFY ORDER
                       FOR INTERLOCUTORY APPEAL

      This matter is before the court on the Motion for Reconsideration or Certify

Order for Interlocutory Appeal filed by defendant, Schwan’s Home Service, Inc., on

November 27, 2006. (Docket No. 71). Plaintiff filed a response on December 11,

2006. (Docket No. 73). Defendant filed a reply brief on December 22, 2006

(Docket No. 74).

      In my original ruling on the Motion for Summary Judgment (Entry on

Defendant’s Motion for Summary Judgment dated August 23, 2006, Docket No.

62), I limited some pieces of circumstantial evidence that could be considered

direct evidence of discrimination to that which immediately surrounded the May

23, 2003 incident that precipitated the plaintiff’s firing. Other decisions from this

district and in this circuit do require the court to consider instances of conduct

not directly related to the precipitating event of discharge to be considered in
Case 2:05-cv-00027-WGH-RLY      Document 75     Filed 01/18/07   Page 2 of 4 PageID #:
                                      652


deciding whether there is a “convincing mosaic of circumstantial evidence” which

amounts to direct evidence of discrimination. As plaintiff points out at pages 5

and 6 of his response to this motion, disputed facts do involve Mr. Leiker, the

decision maker, and not just other individuals.

      It is important that the citizens of the Southern District of Indiana are

treated as consistently as possible with respect to issues of law, the parameters of

which are somewhat uncertain. By reconsidering my prior opinion, I believe I

applied the applicable legal principles consistently with Judge Hamilton’s

approach in the Malone and Lopez decisions previously cited, specifically including

that the pieces of the “mosaic” first focus on the decision maker’s state of mind.

      Summary judgment is a vehicle to resolve lawsuits when there are no

disputed issues of fact and no inferences that can be drawn in favor of the

nonmoving party. In this case, there are substantial disputed facts surrounding

the plaintiff’s treatment before and at the time of the May 23, 2003 incident.

Given that a jury may infer discriminatory intent from a “convincing mosaic of

circumstantial evidence,” the Magistrate Judge believes that justice will better be

served in this case when all of the facts are fully fleshed out and the jury has

heard both sides of this dispute. Therefore, the defendant’s motion to reconsider

is DENIED as to the plaintiff’s claims of discriminatory treatment.

      As to whether the court will reconsider the plaintiff’s claims under 42 U.S.C.

§ 1981, the defendant’s motion to reconsider is DENIED. At this point in time,

Hart v. Transit Management of Racine, Inc., 426 F.3d 863 (7th Cir. 2005), appears

to be the only case that has specifically addressed the issue of whether a claim for

                                         -2-
Case 2:05-cv-00027-WGH-RLY       Document 75     Filed 01/18/07   Page 3 of 4 PageID #:
                                       653


retaliation may be brought under § 1981. As the plaintiff points out, the plaintiff

in Hart was a Caucasian individual. This Magistrate Judge believes that if no new

precedent is forthcoming before the trial of this matter, it is most likely that

plaintiff’s claim for retaliation under § 1981 will not be allowed to proceed for the

jury’s consideration. However, in the event intervening cases may clarify this

uncertain area of the law, and may establish that a person within a protected

group does have protections from retaliation under § 1981, then the plaintiff has

stated a claim and there is sufficient disputed facts to warrant the case being

resolved by the jury. This is an issue that the court will address at the Trial Rule

50 stage of the litigation.

      As to the defendant’s petition for interlocutory appeal under 28 U.S.C. §

1292(b), the Magistrate Judge declines to certify the matter for interlocutory

appeal. The issue of whether 42 U.S.C. § 1981 provides a claim for relief for

retaliation is a question of law which is controlling and is contestable. However,

its resolution will not speed up this litigation. See Aarenholz v. Board of Trustees

of University of Illinois, 219 F.3d 674, 675-76 (7th Cir. 2000). Because the

plaintiff’s other claims under Title VII must be revolved as well, the resolution of

the § 1981 issue alone will not speed up the litigation. Likewise, the question of

whether – in the summary judgment context – a particular set of facts present a

“convincing mosaic of circumstantial evidence” is not a pure question of law.

Therefore, interlocutory appeal is not warranted at this time, and defendant’s

motion is DENIED in that regard.




                                          -3-
Case 2:05-cv-00027-WGH-RLY    Document 75    Filed 01/18/07   Page 4 of 4 PageID #:
                                    654


     For these reasons, the defendant’s Motion to Reconsider or Certify Order for

Interlocutory Appeal is DENIED.

     SO ORDERED.


Dated: January 18, 2007
                                               _______________________________
                                                WILLIAM G. HUSSMANN, JR.
                                                     Magistrate Judge


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                                       -4-
